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 8
 9
10
11                       UNITED STATES DISTRICT COURT
12                     CENTRAL DISTRICT OF CALIFORNIA
13                                    WESTERN DIVISION
14
15
     EAGLE EYES TRAFFIC                             )   Case No.: CV 17-6710-GW(JCx)
16   INDUSTRY USA HOLDING, LLC,                     )   Assigned To: Hon. George H. Wu
     a Nevada limited liability company,            )
17
                                                    )
18                       Plaintiff,                 )
19                                                  )   ORDER OF DISMISSAL WITH
     vs.                                            )
20                                                  )   PREJUDICE
21   DNA MOTOR INC., a California                   )
     Corporation,                                   )
22                                                  )
23                                                  )
                         Defendant.                 )
24                                                  )
25                                                  )
26
27
28                   ORDER OF DISMISSAL WITH PREJUDICE

                                             ORDER

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 1
     Pursuant to the parties’ Stipulated Motion to Dismiss with Prejudice, it is hereby
 2
     ORDERED that:
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 4
           1.     All claims in this action by Plaintiff, EAGLE EYES TRAFFIC
 5
     INDUSTRY USA HOLDING, against Defendant DNA MOTOR Inc. are
 6
     DISMISSED WITH PREJUDICE;
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 8
 9         2.     Each party will bear his own costs, expenses and attorneys’ fees.

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11   IT IS SO ORDERED.

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13   Dated: March 15, 2018

14                                   GEORGE H. WU, U.S. DISTRICT JUDGE
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                                            ORDER

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